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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

GEORGE MOORE, individually and on
behalf of all others similarly situated,

       Plaintiff,                                    Case No.

v.
                                                     CLASS ACTION COMPLAINT
LIVEFREE EMERGENCY RESPONSE,
INC. d/b/a MEDICAL ALERT SYSTEMS
and DOES 1-10,
                                                     JURY DEMANDED
       Defendant.


       Now comes the Plaintiff, GEORGE MOORE (“Plaintiff”), individually and on behalf of

all others similarly situated, and by and through his attorneys, and for his class action Complaint

against the Defendant, LIVEFREE EMERGENCY RESPONSE, INC. d/b/a MEDICAL ALERT

SYSTEMS (“Defendant”) and DOES 1-10, Plaintiff alleges and states as follows:

                               PRELIMINARY STATEMENTS

       1.      This is an action for damages, injunctive relief, and any other available legal or

equitable remedies, for violations of the Telephone Consumer Protection Act (“TCPA”), 47

U.S.C. § 227, et seq., the Illinois Automatic Telephone Dialers Act (“ATDA”), 815 ILCS 305/1,

et seq., and the Illinois Consumer Fraud and Deceptive Business Practices Act (“CFDBPA”),

815 ILCS 505/1, et seq., resulting from the illegal actions of Defendant, in negligently,

knowingly, and/or willfully placing through its agent(s), sales, solicitation, and/or other

telemarketing calls to Plaintiff’s telephone number, in violation of the TCPA and related

regulations, specifically the National Do-Not-Call Registry and internal do-not-call provisions of

47 C.F.R. 64.1200(c) and (d), thereby invading Plaintiff’s privacy. Plaintiff alleges as follows
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upon personal knowledge as to himself and his own acts and experiences, and, as to all other

matters, upon information and belief, including investigation conducted by his attorneys.

          2.   According to the Federal Communications Commission’s website, accessed on

February 9, 2021 at https://www.fcc.gov/consumers/guides/stop-unwanted-robocalls-and-texts:

               The national Do Not Call list protects landline and wireless phone
               numbers. You can register your numbers on the national Do Not
               Call list at no cost… Telemarketers must remove your numbers
               from their call lists and stop calling you within 31 days from the
               date you register. Your numbers will remain on the list until you
               remove them or discontinue service – there is no need to re-register
               numbers.

          3.   The TCPA was designed to prevent telephone calls like the ones described herein,

and to protect the privacy of citizens like Plaintiff. “Voluminous consumer complaints about

abuses of telephone technology – for example, computerized calls dispatched to private homes –

prompted Congress to pass the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S.Ct. 740, 744

(2012).

          4.   In enacting the TCPA, Congress intended to give consumers a choice as to how

corporate and similar entities may contact them, and made specific findings that “[t]echnologies

that might allow consumers to avoid receiving such calls are not universally available, are costly,

are unlikely to be enforced, or place an inordinate burden on the consumer.” TCPA, Pub. L. No.

102–243, § 11. In support of this, Congress found that:

               [b]anning such automated or prerecorded telephone calls to the
               home, except when the receiving party consents to receiving the
               call or when such calls are necessary in an emergency situation
               affecting the health and safety of the consumer, is the only
               effective means of protecting telephone consumers from this
               nuisance and privacy invasion.

Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012 WL 3292838, at *4

(N.D.Ill. Aug. 10, 2012) (citing Congressional findings on the TCPA’s purpose).

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       5.      Congress also specifically found that “the evidence presented to the Congress

indicates that automated or prerecorded calls are a nuisance and an invasion of privacy,

regardless of the type of call….” Id. at §§ 12-13.

       6.      Persons, like Plaintiff herein, have no control to stop unsolicited telemarketing

calls placed to them, whether automated or otherwise.

       7.      Plaintiff and the members of the proposed classes defined below received

telemarketing calls placed to their telephones, placed by or on behalf of Defendant, which were

made without the prior express consent of the recipients of said calls.

                                 JURISDICTION AND VENUE

       8.      This Court has jurisdiction pursuant to 28 U.S.C. § 1331, as this civil action arises

under a law of the United States, the TCPA. This Court also has supplemental jurisdiction over

Plaintiff’s Illinois state law claims pursuant to 28 U.S.C. § 1337.

       9.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events giving rise to this claim occurred in this District.

                                             PARTIES

       10.     Plaintiff is an individual who was at all relevant times residing in the City of

Carol Stream, County of DuPage, and State of Illinois.

       11.     Plaintiff is a “person” as defined by 47 U.S.C. § 153(39).

       12.     Plaintiff is a “subscriber” as defined by 815 ILCS 305/5(e)(1), as he is a person

who has subscribed to telephone service from a telephone company.

       13.     On information and belief, Defendant is a corporation of the State of Delaware,

which is not registered with the Secretary of State to do business in Illinois, and whose principal

place of business is located in Idaho Falls, Idaho.



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       14.     On information and belief, at all times relevant hereto, Defendant was engaged in

the marketing and sale of various medical products and services.

       15.     Defendant is a “person” as defined by 47 U.S.C. § 153(39).

       16.     The true names and capacities of the Defendants sued herein as DOES 1-10 are

currently unknown to Plaintiff, who therefore sues such Defendants by fictitious names. Each of

the Defendants designated herein as a Doe is legally responsible for the unlawful acts alleged

herein. Plaintiff will seek leave of Court to amend his complaint to reflect the true names and

capacities of the Doe Defendants when such identities become known.

       17.     Plaintiff is informed and believes that at all relevant times, each and every

Defendant was acting as an agent and/or employee of each of the other Defendants and was

acting within the course and scope of said agency and/or employment with the full knowledge

and consent of each of the other Defendants. Plaintiff is informed and believes that each of the

acts and/or omissions complained of herein was made known to, and ratified by, each of the

other Defendants.

                            FACTS COMMON TO ALL COUNTS

       18.     On or about July 6, 2003, Plaintiff successfully registered his residential

telephone number ending in -1188 with the National Do-Not-Call Registry.

       19.     During or about July of 2020, Defendant began placing unsolicited prerecorded

telemarketing telephone calls to Plaintiff.

       20.     Plaintiff had not previously sought out Defendant’s services, nor had Plaintiff

attempted to retrieve information from Defendant about its services. Therefore, Plaintiff did not

have an established business relationship with Defendant, as defined under either 16 C.F.R. §

310.4(b)(1)(iii)(B) or 815 ILCS 305/20(a).



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       21.     From on or about July 1, 2020 through on or about October 30, 2020, Plaintiff

received approximately 26 unsolicited prerecorded telemarketing telephone calls from Defendant

on his residential number.

       22.     For example, on September 8, 2020, Plaintiff received calls from numbers which

displayed on his caller ID as (630) 516-9500 and (630) 516-6770.

       23.     When Plaintiff answered Defendant’s calls, he heard a prerecorded message from

“Amy with Medical Services,” offering a medical alert system and asking him to press one to

speak with a representative.

       24.     Said message constitutes a “recorded message,” as defined in 815 ILCS 305/5(c).

       25.     Plaintiff was not interested in the goods and services being offered. However,

Defendant’s calls continued.

       26.     On information and belief, Defendant spoofed its telephone numbers when it

placed its calls to Plaintiff, so that each time Plaintiff received a call, his caller ID would display

a different telephone number with an area code matching his own.

       27.     On October 6, 2020, Plaintiff received another call from the Defendant with the

identical prerecorded message.

       28.     The number displayed on Plaintiff’s caller ID was (630) 015-2670.

       29.     Due to Defendant spoofing its telephone numbers, and in order to confirm the

identity of the company placing these telemarketing calls to him, Plaintiff pressed the number

“1” on his telephone and listened to the entire telemarketing pitch.

       30.     Plaintiff was eventually connected with a live representative.

       31.     Said live representative identified her company as “Medical Alert”.




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          32.   Medical Alert and Medical Alert Systems both are assumed names which

Defendant has registered with the Idaho Secretary of State.

          33.   In order to confirm the company’s identity, Plaintiff made a purchase from

Defendant while still on the phone with Defendant. Plaintiff subsequently identified Defendant

as the source of the calls via the charge posted on his credit card statement, which reflects

Defendant’s assumed name and mailing address. Plaintiff’s credit card charge is attached hereto

as Exhibit A.

          34.   On or about October 23, 2020, Plaintiff called Defendant to request a copy of

Defendant’s written do-not-call policy and indicated to Defendant’s representative that he

wished to no longer be contacted.

          35.   Defendant’s representative told Plaintiff that Defendant has no written do-not-call

policy.

          36.   Furthermore, Plaintiff received approximately six additional prerecorded

telemarketing calls from Defendant after October 23, 2020, when he indicated to Defendant’s

representative that he wished to no longer be contacted.

          37.   On information and belief, based upon Plaintiff’s experiences in receiving

Defendant’s telephone calls as set forth above, Defendant’s calls to Plaintiff were placed through

the use of an “autodialer” or “autodialer system,” as defined in 815 ILCS 305/5(a).

          38.   Plaintiff never gave Defendant his prior express request, invitation, or permission

for Defendant to place its telemarketing calls to him, nor did Plaintiff have an established

business relationship with Defendant.

          39.   Defendant’s unsolicited telemarketing calls were a nuisance to Plaintiff.




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       40.     As a result of Defendant’s acts and omissions outlined above, Plaintiff has

suffered concrete and particularized injuries and harm, which include, but are not limited to, the

following:

               a.     Invasion of privacy;

               b.     Intrusion upon and occupation of the capacity of Plaintiff’s telephone line;

               c.     Wasting Plaintiff’s time; and

               d.     Aggravation, inconvenience, frustration, emotional distress, and similar

                      categories of damages.



                                    CLASS ALLEGATIONS

       41.     Plaintiff brings this action on behalf of himself and all others similarly situated, as

a member of the proposed Classes (collectively, “the Classes”).

       42.     Plaintiff brings this action on behalf of himself and all others similarly situated, as

a member of the following proposed class (the “Prerecorded Message Class”) defined as follows:

               All residential telephone subscribers within the United States:

               a)     who received any telephone calls from Defendant to said
                      persons telephone,
               b)     using an artificial or prerecorded voice to deliver a
                      message,
               c)     without the prior express consent of the called party and not
                      for emergency purposes,
               d)     within four years prior to the filing of this Complaint
                      through the date of class certification.

       43.     Plaintiff also brings this action on behalf of himself and all others similarly

situated, as a member of the following proposed class (the “National Do-Not-Call Class”)

defined as follows:

               All residential telephone subscribers within the United States:

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               a)     whose telephone numbers were registered on the National
                      Do-Not-Call Registry for at least 30 days,
               b)     who had not granted Defendant prior express consent nor
                      had a prior established business relationship with
                      Defendant, or who had revoked such consent or prior
                      established business relationship,
               c)     who received more than one call made by or on behalf of
                      Defendant that promoted Defendant’s products or services,
               d)     within any 12-month period, and
               e)     within four years prior to the filing of this Complaint
                      through the date of class certification.

       44.     Plaintiff also brings this action on behalf of himself and all others similarly

situated, as a member of the following proposed class (the “Internal Do-Not-Call Class”) defined

as follows:

               All residential telephone subscribers within the United States:
               a)      who had not granted Defendant prior express consent nor
                       had a prior established business relationship with
                       Defendant, or who had revoked such consent or prior
                       established business relationship,
               b)      who requested that Defendant not place calls to them for
                       telemarketing purposes,
               c)      who received more than one call made by or on behalf of
                       Defendant that promoted Defendant’s products or services
                       more than 30 days after the date such request was made,
               d)      within any 12-month period,
               e)      within four years prior to the filing of this Complaint
                       through the date of class certification.

       45.     Plaintiff also brings this action on behalf of himself and all others similarly

situated, as a member of the following proposed class (the “Illinois Class”) defined as follows:

               All telephone subscribers within Illinois:
               a)      who received any telephone calls from Defendant to said
                       person’s telephone,
               b)      made through the use of an autodialer or autodialer system,
               c)      and such person had not previously consented to receiving
                       such calls nor had a prior established business relationship
                       with Defendant, or who had revoked such consent or prior
                       established business relationship,
               d)      within the three years prior to the filing of this Complaint
                       through the date of class certification.

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       46.     Defendant, its employees and agents are excluded from the Classes. Plaintiff does

not know the number of members in the Classes, but believes the Classes’ members number in

the hundreds, if not more. Thus, this matter should be certified as a Class Action to assist in the

expeditious litigation of the matter.

       47.     The Classes are so numerous that the individual joinder of all of their members is

impractical. While the exact number and identities of the Classes’ members are unknown to

Plaintiff at this time and can only be ascertained through appropriate discovery, Plaintiff is

informed and believes and thereon alleges that the Classes include hundreds, if not thousands of

members. Plaintiff alleges that the Classes’ members may be ascertained by the records

maintained by Defendant.

       48.     This suit is properly maintainable as a class action pursuant to Fed. R. Civ. P.

23(a) because the Classes are so numerous that joinder of the Classes’ members is impractical

and the disposition of their claims in the Class Action will provide substantial benefits both to

the parties and the Court.

       49.     There are questions of law and fact common to the Prerecorded Message Class

affecting the parties to be represented. The questions of law and fact common to the Prerecorded

Message Class predominate over questions which may affect individual members of the

Prerecorded Message Class and include, but are not necessarily limited to, the following:

               a.      Whether the Prerecorded Message Class members’ residential telephone

                       numbers were called by Defendant using an artificial or prerecorded voice

                       to deliver messages;




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               b.     Whether Defendant obtained the prior express consent of the Prerecorded

                      Message Class members to call their residential telephone numbers using

                      an artificial or prerecorded voice;

               c.     Whether Defendant’s calls to the Prerecorded Message Class members

                      were placed for emergency purposes; and

               d.     Whether Defendant violated the TCPA, 47 U.S.C. § 227, et seq.

       50.     There are questions of law and fact common to the National Do-Not-Call and

Internal Do-Not-Call Classes affecting the parties to be represented. The questions of law and

fact common to the National Do-Not-Call and Internal Do-Not-Call Classes predominate over

questions which may affect individual members of the National Do-Not-Call and Internal Do-

Not-Call Classes and include, but are not necessarily limited to, the following:

               a.     Whether the National Do-Not-Call and Internal Do-Not-Call Classes’

                      members’ residential telephone numbers were called by Defendant

                      without Defendant having obtained prior express consent or an established

                      business relationship which would allow them to place such calls;

               b.     Whether the National Do-Not-Call Class members’ telephone numbers

                      were called by Defendant more than 30 days after they registered such

                      numbers on the National Do-Not-Call Class registry;

               c.     Whether the Internal Do-Not-Call Class members’ telephone numbers

                      were called by Defendant more than 30 days after the date the members

                      requested their numbers be added to Defendant’s internal do-not-call list;

               d.     Whether Defendant had a written policy, available upon demand, for

                      maintaining an internal do-not-call list;



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               e.      Whether Defendant violated the TCPA, 47 U.S.C. § 227, et seq., by

                       placing telephone calls to the National Do-Not-Call Class members

                       without proper consent or an established business relationship; and

               f.      Whether Defendant violated the TCPA, 47 U.S.C. § 227, et seq., by

                       placing telephone calls to the Internal Do-Not-Call Class members without

                       proper consent or an established business relationship.

       51.     There are questions of law and fact common to the Illinois Class affecting the

parties to be represented. The questions of law and fact common to the Illinois Class

predominate over questions which may affect individual members of the Illinois Class and

include, but are not necessarily limited to, the following:

               a.      Whether, within the three years prior to the filing of this Complaint

                       through the date of class certification, Defendant made any call (other than

                       a call made with the prior express consent of the called party) to an Illinois

                       Class member made through the use of an autodialer or autodialer system;

               b.      Whether Plaintiff and the Illinois Class members were damaged thereby,

                       and the extent of damages for such violation; and

               c.      Whether Defendant should be enjoined from engaging in such conduct in

                       the future.

       52.     As a residential telephone subscriber who received telephone calls using an

artificial or prerecorded voice, made by or on behalf of Defendant, without his prior express

consent and not for emergency purposes, within four years prior to the filing of this Complaint,

Plaintiff is asserting claims that are typical of the Prerecorded Message Class.




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        53.     As a residential telephone subscriber who received telephone calls, made by or on

behalf of Defendant, without his prior express consent, after his telephone number was registered

on the National Do-Not-Call Registry for at least 30 days, within four years prior to the filing of

this Complaint, Plaintiff is asserting claims that are typical of the National Do-Not-Call Class.

        54.     As a residential telephone subscriber who received telephone calls, made by or on

behalf of Defendant, without his prior express consent, at least 30 days after he requested his

telephone number be added to Defendant’s internal do-not-call registry, within four years prior to

the filing of this Complaint, Plaintiff is asserting claims that are typical of the Internal Do-Not-

Call Class.

        55.     As a telephone subscriber who received multiple telephone calls, made by or on

behalf of Defendant, made through the use of an autodialer or autodialer system, without his

prior express consent or established business relationship, within the three years prior to the

filing of this Complaint, Plaintiff is asserting claims that are typical of the Illinois Class.

        56.     Plaintiff has no interests adverse or antagonistic to the interests of the other

members of the Classes.

        57.     Plaintiff will fairly and adequately protect the interests of the members of the

Classes. Plaintiff has retained attorneys experienced in the prosecution of class actions.

        58.     A class action is superior to other available methods of fair and efficient

adjudication of this controversy, since individual litigation of the claims of all Class members is

impracticable. Even if every Class member could afford individual litigation, the court system

could not. It would be unduly burdensome to the courts in which individual litigation of

numerous issues would proceed. Individualized litigation would also present the potential for

varying, inconsistent or contradictory judgments and would magnify the delay and expense to all



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parties, and to the court system, resulting from multiple trials of the same complex factual issues.

By contrast, the conduct of this action as a class action presents fewer management difficulties,

conserves the resources of the parties and of the court system and protects the rights of each

Class member. Class treatment will also permit the adjudication of relatively small claims by

many Class members who could not otherwise afford to seek legal redress for the wrongs

complained of herein.

       59.     The prosecution of separate actions by individual Class members would create a

risk of adjudications with respect to them that would, as a practical matter, be dispositive of the

interests of the other Class members not parties to such adjudications or that would substantially

impair or impede the ability of such non-party Class members to protect their interests.

       60.     Defendant has acted or refused to act in respects generally applicable to the

Classes, thereby making appropriate final and injunctive relief with regard to the members of

Classes as a whole.

       61.     Defendant failed to comply with the requirements of the TCPA, including but not

limited to 47 U.S.C. § 227(b)(1)(B), and the implementing regulations contained in 47 C.F.R. §

64.1200(c) and (d), as to the Classes’ members with respect to the above-alleged transactions.

       62.     47 U.S.C. § 227(b)(1)(B) provides that:

               It shall be unlawful for any person within the United States, or any
               person outside of the United States if the recipient is within the
               United States, to initiate any telephone call to any residential
               telephone line using an artificial or prerecorded voice to deliver a
               message without the prior express consent of the called party,
               unless the call is initiated for emergency purposes, is made solely
               pursuant to the collection of a debt owed to or guaranteed by the
               United States, or is exempted by rule of order by the [Federal
               Communications] Commission under paragraph (2)(B).

       63.     47 C.F.R. § 64.1200(c)(2) provides that:



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        [n]o person or entity shall initiate any telephone solicitation
        to…[a] residential telephone subscriber who has registered his or
        her telephone number on the national do-not-call registry of
        persons who do not wish to receive telephone solicitations that is
        maintained by the Federal Government.

  64.   47 C.F.R. § 64.1200(d) provides that:

        No person or entity shall initiate any call for telemarketing
        purposes to a residential telephone subscriber unless such person
        or entity has instituted procedures for maintaining a list of persons
        who request not to receive telemarketing calls made by or on
        behalf of that person or entity. The procedures instituted must meet
        the following minimum standards:
        (1) Written policy. Persons or entities making calls for
        telemarketing purposes must have a written policy, available upon
        demand, for maintaining a do-not-call list.
        …
        (3) Recording, disclosure of do-not-call requests. If a person or
        entity making a call for telemarketing purposes (or on whose
        behalf such a call is made) receives a request from a residential
        telephone subscriber not to receive calls from that person or entity,
        the person or entity must record the request and place the
        subscriber's name, if provided, and telephone number on the do-
        not-call list at the time the request is made. Persons or entities
        making calls for telemarketing purposes (or on whose behalf such
        calls are made) must honor a residential subscriber's do-not-call
        request within a reasonable time from the date such request is
        made. This period may not exceed thirty days from the date of
        such request.

  65.   815 ILCS 305/15 provides that:

        (a) No person shall operate an autodialer in this State to place a
        telephone call during the hours between 9 p.m. and 9 a.m.
        (b) All autodialers operated within the State of Illinois shall
        disconnect within 30 seconds after termination of the call by the
        subscriber or the autodialer. Where disconnection in 30 seconds is
        technically not feasible, the autodialer shall utilize a live operator
        who shall:
            (1) state his name, the name, address and telephone number of
            the business or organization being represented and the purpose
            of the call; and
            (2) inquire at the beginning of the call whether the person
            called consents to hear the prerecorded message.



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               (c) An autodialer shall not be used to dial numbers determined by
               successively increasing or decreasing integers.
               (d) An autodialer may not be operated in a manner that impedes
               the function of any caller ID when the telephone solicitor’s service
               or equipment is capable of allowing the display of the solicitor’s
               telephone number.

       66.     815 ILCS 305/30(a) provides, “It is a violation of this Act to make or cause to be

made telephone calls utilizing an autodialer in a manner that does not comply with [815 ILCS

305/15].”

       67.     815 ILCS 305/30(b) provides, “It is a violation of this Act to play a prerecorded

message placed by an autodialer without the consent of the called party.”

       68.     815 ILCS 305/30(d) provides, “Violation of any of the provisions of this Act is an

unlawful practice under Section 2Z of the Consumer Fraud and Deceptive Business Practices

Act.” Said section of the CFDBPA is codified as 815 ILCS 505/2Z.

       69.     In multiple instances, Defendant called the Prerecorded Message Class members

using an artificial or prerecorded voice to deliver a message without the prior express consent of

the called party, in violation of 47 U.S.C. § 227(b)(1)(B).

       70.     In multiple instances, Defendant called the National Do-Not-Call Class members

without their prior express consent or an established business relationship, and after the Class

members registered with the federal government’s Do-Not-Call registry, in violation of the

TCPA, 47 U.S.C. § 227, et seq., and 47 C.F.R. 64.1200(c).

       71.     In multiple instances, Defendant called Internal Do-Not-Call Class members who

requested that Defendant not place calls to them for telemarketing purposes, more than 30 days

after the date such requests were made, in violation of the TCPA, 47 U.S.C. § 227, et seq., and

47 C.F.R. 64.1200(d).




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        72.     In addition, on information and belief, Defendant has not instituted procedures for

maintaining a list of persons who request not to receive telemarketing calls made by or on behalf

of Defendant, in violation of the TCPA, 47 U.S.C. § 227, et seq., and 47 C.F.R. 64.1200(d).

        73.     In multiple instances, Defendant called the Illinois Class members in a manner

that did not comply with 815 ILCS 305/15, in violation of the ATDA, 815 ILCS 305/30(a), and

the CFDBPA, 815 ILCS 505/2Z.

        74.     In multiple instances, Defendant placed calls with an autodialer to the Illinois

Class members and played a prerecorded message, without their consent, in violation of the

ATDA, 815 ILCS 305/30(a), and the CFDBPA, 815 ILCS 505/2Z.

        75.     The size and definition of the Classes can be identified through Defendant’s

records and/or Defendant’s agents’ records.

                                            COUNT I
                          NEGLIGENT VIOLATIONS OF THE TCPA
                                        47 U.S.C. § 227(b)
                          (On Behalf of the Prerecorded Message Class)

        76.     Plaintiff incorporates the allegations and statements made above in paragraphs 1-

75 as if fully reiterated herein.

        77.     The foregoing acts and omissions of Defendant constitute numerous and multiple

negligent violations of the TCPA, including, but not limited to, each and every one of the above

cited provisions of 47 U.S.C. § 227(b).

        78.     As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b), Plaintiff

and the Prerecorded Message Class members are entitled to an award of $500.00 in statutory

damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

        79.     Plaintiff and the Prerecorded Message Class members are also entitled to and seek

injunctive relief prohibiting such conduct in the future.

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                                         COUNT II
                KNOWING AND/OR WILLFUL VIOLATIONS OF THE TCPA
                                     47 U.S.C. § 227(b)
                   (On Behalf of the National Prerecorded Message Class)

        80.     Plaintiff incorporates the allegations and statements made above in paragraphs 1-

75 as if fully reiterated herein.

        81.     The foregoing acts and omissions of Defendant constitute numerous and multiple

knowing and/or willful violations of the TCPA, including, but not limited to, each and every one

of the above cited provisions of 47 U.S.C. § 227(b).

        82.     As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §

227(b), Plaintiff and the Prerecorded Message Class members are entitled to an award of

$1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C. §

227(b)(3)(C).

        83.     Plaintiff and the National Prerecorded Message Class members are also entitled to

and seek injunctive relief prohibiting such conduct in the future.

                                           COUNT III
                          NEGLIGENT VIOLATIONS OF THE TCPA
                                        47 U.S.C. § 227(c)
                          (On Behalf of the National Do-Not-Call Class)

        84.     Plaintiff incorporates the allegations and statements made above in paragraphs 1-

75 as if fully reiterated herein.

        85.     The foregoing acts and omissions of Defendant constitute numerous and multiple

negligent violations of the TCPA, including, but not limited to, each and every one of the above

cited provisions of 47 U.S.C. § 227, 47 U.S.C. § 227(c), and the implementing regulations of 47

C.F.R. 64.1200(c).




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        86.     As a result of Defendant’s negligent violations of 47 U.S.C. § 227(c), Plaintiff

and the National Do-Not-Call Class members are entitled to an award of $500.00 in statutory

damages for each and every violation, pursuant to 47 U.S.C. § 227(c)(5).

        87.     Plaintiff and the National Do-Not-Call Class members are also entitled to and

seek injunctive relief prohibiting such conduct in the future.

                                       COUNT IV
                  KNOWING AND/OR WILLFUL VIOLATIONS OF TCPA
                                    47 U.S.C. § 227(c)
                      (On Behalf of the National Do-Not-Call Class)

        88.     Plaintiff incorporates the allegations and statements made above in paragraphs 1-

75 as if fully reiterated herein.

        89.     The foregoing acts and omissions of Defendant constitute numerous and multiple

knowing and/or willful violations of the TCPA, including, but not limited to, each and every one

of the above-cited provisions of 47 U.S.C. § 227, 47 U.S.C. § 227(c), and the implementing

regulations of 47 C.F.R. 64.1200(c).

        90.     As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §

227(c), Plaintiff and the National Do-Not-Call Class members are entitled to an award of

$1,500.00 in treble statutory damages for each and every violation, pursuant to 47 U.S.C. §

227(c)(5).

        91.     Plaintiff and the National Do-Not-Call Class members are also entitled to and

seek injunctive relief prohibiting such conduct in the future.




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                                           COUNT V
                          NEGLIGENT VIOLATIONS OF THE TCPA
                                        47 U.S.C. § 227(c)
                          (On Behalf of the Internal Do-Not-Call Class)

        92.     Plaintiff incorporates the allegations and statements made above in paragraphs 1-

75 as if fully reiterated herein.

        93.     The foregoing acts and omissions of Defendant constitute numerous and multiple

negligent violations of the TCPA, including, but not limited to, each and every one of the above

cited provisions of 47 U.S.C. § 227, 47 U.S.C. § 227(c), and the implementing regulations of 47

C.F.R. 64.1200(d).

        94.     As a result of Defendant’s negligent violations of 47 U.S.C. § 227(c), Plaintiff

and the Internal Do-Not-Call Class members are entitled to an award of $500.00 in statutory

damages for each and every violation, pursuant to 47 U.S.C. § 227(c)(5).

        95.     Plaintiff and the Internal Do-Not-Call Class members are also entitled to and seek

injunctive relief prohibiting such conduct in the future.

                                      COUNT VI
               KNOWING AND/OR WILLFUL VIOLATIONS OF THE TCPA
                                   47 U.S.C. § 227(c)
                     (On Behalf of the Internal Do-Not-Call Class)

        96.     Plaintiff incorporates the allegations and statements made above in paragraphs 1-

75 as if fully reiterated herein.

        97.     The foregoing acts and omissions of Defendant constitute numerous and multiple

knowing and/or willful violations of the TCPA, including, but not limited to, each and every one

of the above-cited provisions of 47 U.S.C. § 227, 47 U.S.C. § 227(c), and the implementing

regulations of 47 C.F.R. 64.1200(d).




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         98.    As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §

227(c), Plaintiff and the Internal Do-Not-Call Class members are entitled to an award of

$1,500.00 in treble statutory damages for each and every violation, pursuant to 47 U.S.C. §

227(c)(5).

         99.    Plaintiff and the Internal Do-Not-Call Class members are also entitled to and seek

injunctive relief prohibiting such conduct in the future.

                                              COUNT VII
                                     VIOLATIONS OF THE ATDA
                                         815 ILCS 305/1, et seq.
                                     (On Behalf of the Illinois Class)

         100.   Plaintiff incorporates the allegations and statements made above in paragraphs 1-

75 as if fully reiterated herein.

         101.   The foregoing acts and omissions of Defendant constitute numerous and multiple

violations of the ATDA, including, but not limited to, each and every one of the above-cited

provisions of 815 ILCS 305/1, et seq.

         102.   As a result of Defendant’s violations of the ATDA, Plaintiff and the Illinois Class

members are entitled to three times their actual damages, statutory damages in the amount of

$500.00 per violation, costs, and reasonable attorneys’ fees, pursuant to 815 ILCS 305/30(c) and

(c-5).

                                              COUNT VIII
                                    VIOLATIONS OF THE CFDBPA
                                         815 ILCS 505/1, et seq.
                                     (On Behalf of the Illinois Class)

         103.   Plaintiff incorporates the allegations and statements made above in paragraphs 1-

75 as if fully reiterated herein.




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       104.    The foregoing acts and omissions of Defendant constitute numerous and multiple

violations of the CFDBPA, including, but not limited to, 815 ILCS 505/2Z.

       105.    815 ILCS 505/10a states:

               (a) Any person who suffers actual damage as a result of a violation
               of this Act committed by any other person may bring an action
               against such person. The court, in its discretion may award actual
               economic damages or any other relief which the court deems
               proper...

               (c) [T]he Court may grant injunctive relief where appropriate and
               may award, in addition to the relief provided in this Section,
               reasonable attorney’s fees and costs to the prevailing party.

       106.    Defendant failed to comply with the requirements of the CFDBPA, including, but

not limited to, 815 ILCS 505/2Z as to the Illinois Class members with respect to the above-

alleged acts and omissions.

       107.    By reason thereof, Plaintiff and the Illinois Class members are entitled to a

judgment against Defendant, declaring that Defendant’s conduct violated the CFDBPA,

enjoining Defendant from engaging in similar conduct in the future, and awarding actual

damages, punitive damages, injunctive relief, costs, and attorneys’ fees.

                                    PRAYER FOR RELIEF

       Wherefore, Plaintiff prays for a judgment against Defendant as follows:

               a.     An order certifying the Prerecorded Message Class, National Do-Not-Call

                      Class, Internal Do-Not-Call Class, and Illinois Class, and appointing

                      Plaintiff as Representative of the Classes;

               b.     An order certifying the undersigned counsel as Counsel for the

                      Prerecorded Message Class, National Do-Not-Call Class, Internal Do-Not-

                      Call Class, and Illinois Class;



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               c.      An order requiring Defendant, at its own cost, to notify all of the Classes’

                       members of the unlawful conduct herein;

               d.      Judgment against Defendant in the amount of $500.00 in statutory

                       damages for each and every negligent violation of the TCPA by

                       Defendant;

               e.      Judgment against Defendant in the amount of $1,500.00 in statutory

                       damages for each and every knowing and/or willful violation of the TCPA

                       by Defendant;

               f.      Judgment against Defendant in the amount of treble actual damages for

                       Defendant’s violations of the ATDA;

               g.      Judgment against Defendant for statutory damages in the amount of

                       $500.00 per violation of the ATDA by Defendant;

               h.      Judgment against Defendant for actual and punitive damages for

                       Defendant’s violations of the CFDBPA;

               i.      An order for injunctive relief prohibiting such conduct by Defendant in the

                       future;

               j.      Judgment against Defendant for Plaintiff’s court costs and other litigation

                       costs, and reasonable attorneys’ fees; and

               k.      Any other relief deemed just and proper by this Court.

                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues in this action which are so triable, except for

any issues relating to the amount of attorneys’ fees and costs to be awarded should Plaintiff

prevail on any of his claims in this action.



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                                  RESPECTFULLY SUBMITTED,

                                  GEORGE MOORE

                                  By:    /s/ David B. Levin
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                            EXHIBIT A
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